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                                                                                    8                                 UNITED STATES DISTRICT COURT
                                                                                    9                              NORTHERN DISTRICT OF CALIFORNIA
                                                                                   10                                          SAN JOSE DIVISION
                 A limited liability partnership formed in the State of Delaware




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                                                                                   12 MERSCORP HOLDINGS, INC., a Delaware                No.: 16-cv-04380-BLF
                                                                                      corporation, and MORTGAGE ELECTRONIC
REED SMITH LLP




                                                                                   13 REGISTRATION SYSTEMS, INC., a Delaware             [PROPOSED] PRELIMINARY
                                                                                      corporation,                                       INJUNCTION ORDER
                                                                                   14
                                                                                                             Plaintiff,
                                                                                   15
                                                                                               vs.
                                                                                   16
                                                                                        MERS, INC, a California corporation,
                                                                                   17 MORTGAGE ELECTRONIC REGISTRATION
                                                                                        SYSTEM, INC. (MERS), a California
                                                                                   18 corporation,
                                                                                   19                        Defendants.

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                                                                                                                     PRELIMINARY INJUNCTION ORDER
                                                                                                                                                          Case No. 16-cv-04380-BLF
                                                                                              Case 5:16-cv-04380-BLF Document 23 Filed 09/20/16 Page 2 of 2



                                                                                    1          The Court hereby orders:

                                                                                    2          A. Defendants MERS, Inc and Mortgage Electronic Registration System, Inc. (MERS)’s

                                                                                    3 (“Defendants”), and their officers, agents, servants, employees and attorneys and those in active
                                                                                    4 concert or participation with them, are restrained and enjoined pending trial of this action from:
                                                                                    5                 1.      Using the MERS® Mark, MERSCORP trade name, or MORTGAGE

                                                                                    6 ELECTRONIC REGISTRATION SYSTEMS, INC. trade name, or any confusingly similar versions
                                                                                    7 thereof, in commerce in the United States;
                                                                                    8                 2.      Maintaining an active corporation with the name MERS, INC or

                                                                                    9 MORTGAGE ELECTRONIC REGISTRATION SYSTEM, INC. (MERS) or any confusingly
                                                                                   10 similar name; and
                 A limited liability partnership formed in the State of Delaware




                                                                                   11                 3.      Assisting, aiding, or abetting any other person or entity in engaging in or

                                                                                   12 performing any of the activities referred to in subparagraphs (i) and (ii) above;
REED SMITH LLP




                                                                                   13          B. If Defendants fail to file the necessary paperwork to comply with Section A.2 above

                                                                                   14 within 14 days of the date of this Order, the Court appoints Plaintiffs, through their in-house counsel
                                                                                   15 Andrew Marmion, as authorized agents of Defendants for the limited purpose of preparing,
                                                                                   16 executing, and filing Certificates of Amendment of Articles of Incorporation with the California
                                                                                   17 Secretary of State to change Defendant MERS, Inc’s corporate name to “Jack Lyles, Inc.” and to
                                                                                   18 change Defendant Mortgage Electronic Registration System, Inc. (MERS)’s corporate name to
                                                                                   19 “Connie Vargas, Inc.”
                                                                                   20
                                                                                   21                 IT IS SO ORDERED.

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                                                                                        DATED: September 20, 2016
                                                                                   23                                                BETH LABSON FREEMAN
                                                                                                                                     United States District Judge
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                                                                                                                     PRELIMINARY INJUNCTION ORDER
                                                                                                                                                                  Case No. 16-cv-04380-BLF
